Case 3:23-cv-01321-DWD              Document 78 Filed 03/20/25               Page 1 of 29       Page ID
                                              #736



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 ADAM          MOOMAW,          REGAN                )
 MOOMAW, and SARAH GUSTAFSON                         )
 Individually and on behalf of all others            )
 similarly situated                                  )
                                                     )     Case No. 3:23-cv-1321-DWD
         Plaintiffs,                                 )
                                                     )
 vs.                                                 )
                                                     )
 GEOSNAPSHOT          PTY     LTD,   an
 Australian proprietary limited company

         Defendants.

                                 MEMORANDUM & ORDER

DUGAN, District Judge:

        Plaintiffs Adam Moomaw, Regan Moomaw, and Sarah Gustafson, bring this

putative class action, individually and on behalf of all other similarly situated persons,

against Defendant GeoSnapShot PTY LTD (“GeoSnap” or “GeoSnapShot”), asserting

claims under the Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq.

(“BIPA”). 1 Presently before the Court is GeoSnap’s Motion to Compel Arbitration or,

Alternatively Under FRCP 12(b)(6) to Dismiss Plaintiffs’ Amended Complaint.

                                           I.      OVERVIEW

        GeoSnap is an online platform (“Website”) that allows registered photographers

(“Photographers”) to attend events, upload their photos to the Website, and receive a



1 Defendants removed this action from the Circuit Court of St. Clair County, Illinois pursuant to 28 U.S.C.

§§ 1332, 1441, 1446, and 1453.
Case 3:23-cv-01321-DWD         Document 78 Filed 03/20/25          Page 2 of 29     Page ID
                                         #737



commission (shared with GeoSnap) on the photos that are sold through the website. (Doc.

58, ¶ 4).

       GeoSnap’s business model is dependent on its collection and use of the biometrics

of the people depicted in its online photo platform. (Doc. 58 ¶ 5). GeoSnap encourages

event participants to find photos of themselves by uploading a “selfie” and allowing its

artificial intelligence to compare that photo with the others in its database. (Doc. 58 ¶ 5).

This can only be done by extracting from each photo data representing the unique

geometry of each facial image so that comparisons can be made. (Doc. 58 ¶ 5).

       In April 2019, GeoSnap contracted with Tough Mudder, an endurance event

company, to allow Photographers to attend and take photographs of participants in

Tough Mudder events. (Doc. 58 ¶ 34). Tough Mudder promotes endurance events in

which participants attempt 10 to 12 mile-long obstacle courses that feature hazards such

as fields of mud and tanks of cold water. (Doc. 58 ¶ 35). In an article promoting the

partnership, GeoSnap founder and chief executive Andy Edwards emphasized that

GeoSnap’s biometric-based Selfie Search feature was central to the agreement. Because

Tough Mudder participants “come out from the muddy depths,” the article quoted

Edwards as saying, “face recognition is the only thing that will find photos of them.”

(Doc. 58 ¶ 37). In the same article, Edwards touted the Tougher Mudder partnership as

one that would help GeoSnapShot realize “500% growth” in 2019. (Doc. 58 ¶ 38).

       On August 24, 2019, Plaintiffs Adam and Regan Moomaw attended the “Tough

Mudder Chicago Saturday” event held in Rockford, Illinois. (Doc. 58 ¶ 40). Plaintiff Sarah

Gustafson attended Tough Mudder events held in Rockford Illinois, in 2019, 2021, and

                                             2
Case 3:23-cv-01321-DWD        Document 78 Filed 03/20/25       Page 3 of 29    Page ID
                                        #738



2022. (Doc. 58 ¶ 46). As is relevant to GeoSnap’s arbitration argument, GeoSnap contends

Plaintiffs executed waiver agreements when they signed up to compete in the Tough

Mudder competitions. (Doc. 62, 62-1).

       GeoSnap has provided the Court with copies of five waiver agreements

purportedly executed by Plaintiffs. Three of the agreements were executed prior to 2021

(one each for Adam Moomaw, Regan Moomaw, and Sarah Gustafson relating to the 2019

Tough Mudder event in Rockford, Illinois) (“Pre-2021 Agreements). (Doc. 62-1). The

remaining two waiver agreements were executed by Sarah Gustafson in 2021 and 2022

(relating to Gustafson’s participation in the 2021 and 2022 Tough Mudder events in

Rockford, Illinois) (“Gustafson 2021/2022 Agreements”). (Doc. 62-1). The Pre-2021

Agreements include a choice of law provision designating the law “in the State in which

the TM Event is held” as controlling, while the Gustafson 2021/2022 Agreements

designate Delaware law as controlling. (Doc. 62-1).

       During the events, one or more photographs containing Plaintiffs’ facial images

were taken and subsequently uploaded to the Website. (Doc. 58 ¶¶ 41, 47). After the

photographs containing Plaintiffs’ facial images were uploaded to the Website, GeoSnap

scanned them and extracted data representing the unique geometry of Plaintiffs’ facial

images. (Doc. 58 ¶¶ 42, 48). GeoSnap profited from the use of Plaintiffs’ biometrics by

using them to enable the Selfie Search feature that facilitates the sale of photographs

through the Website, and in turn generates GeoSnap’s primary source of revenue. (Doc.

58 ¶¶ 44, 50).



                                           3
Case 3:23-cv-01321-DWD         Document 78 Filed 03/20/25          Page 4 of 29     Page ID
                                         #739



       Under BIPA, “scan[s] of . . . face geometry” are biometrics, 740 ILCS 14/10.

Plaintiffs argue GeoSnap cannot collect or use such scans unless it complies with BIPA.

Plaintiffs seek statutory liquidated damages for each of several alleged technical

violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/5 et seq.

       GeoSnap contends that, pursuant to the waiver agreements Plaintiffs purportedly

executed with Tough Mudder, Plaintiffs agreed to “(1) mediation or arbitration for ‘all

disputes, controversies or claims arising out of [Plaintiffs’] participation of the [Tough

Mudder event…’; and (2) waive the right to proceed as a class action.” (Doc. 62).

Although GeoSnap is a non-signatory to the waiver agreements, it seeks to compel

arbitration based on its alleged third-party beneficiary status. Alternatively, to the extent

Plaintiffs do not have to arbitrate their claims, GeoSnap seeks to dismiss all or part of

their First Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6).

(Doc. 62).

             II.    DISCUSSION – MOTION TO COMPEL ARBITRATION

   A. Legal Standard

       The Federal Arbitration Act (“FAA”) mandates that courts enforce valid, written

arbitration agreements. Tinder v. Pinkerton Sec., 305 F.3d 728, 733 (7th Cir. 2002) (citing 9

U.S.C. § 2). This mandate reflects a federal policy that favors arbitration and “places

arbitration agreements on equal footing with all other contracts.” Buckeye Check Cashing,

Inc. v. Cardegna, 546 U.S. 440, 443 (2006). Arbitration should be compelled under the FAA

when “three elements are present: (1) an enforceable written agreement to arbitrate, (2) a




                                             4
Case 3:23-cv-01321-DWD         Document 78 Filed 03/20/25          Page 5 of 29     Page ID
                                         #740



dispute within the scope of the arbitration agreement, and (3) a refusal to arbitrate.” A.D.

v. Credit One Bank, N.A., 885 F.3d 1054, 1060 (7th Cir. 2018) (citing 9 U.S.C. §§ 3–4).

       Courts       deciding       motions        to     compel       arbitration         apply

a summary judgment standard under Federal Rule of Civil Procedure 56. See Tinder v.

Pinkerton Sec., 305 F.3d 728, 735 (7th Cir. 2002). “A district court may conclude as a matter

of law that parties did or did not enter into an arbitration agreement only if no genuine

dispute of material fact exists as to the formation of the agreement.” Wallrich v. Samsung

Elecs. Am., Inc., 106 F.4th 609, 618 (7th Cir. 2024). The party seeking to compel arbitration

“bears the initial burden to show that an arbitration agreement exists.” Id.

   B. Background

       Prior to competing in the Tough Mudder events alleged in the Amended

Complaint (Doc. 58), Plaintiffs were required to execute a liability agreement. As

previously noted, Adam Moomaw, Regan Moomaw, and Sarah Gustafson purportedly

executed liability agreements prior to attending the 2019 Tough Mudder event in

Rockford, Illinois (Pre-2021 Agreements”). (Doc. 62-1, pgs. 8-31). In addition, Sarah

Gustafson purportedly executed two liability agreements prior to attending the 2021 and

2022 Tough Mudder events in Rockford, Illinois (“Gustafson 2021/2022 Agreements”).

(Doc. 62-1, pgs. 32-43).

       All five liability agreements include an arbitration provision wherein Plaintiffs

agreed to (1) mediation or arbitration for, “all disputes, controversies or claims arising

out of [Plaintiffs’] participation of the [Tough Mudder] event…”; and (2) waive the right

to proceed as a class action. (Doc. 62-1, pgs. 10, 18, 25, 34, 40). The Pre-2021 Agreements

                                              5
Case 3:23-cv-01321-DWD            Document 78 Filed 03/20/25        Page 6 of 29      Page ID
                                            #741



include a choice of law provision providing for application of the law “in the State in

which the TM Event is held.” (Doc. 62-1, pgs. 10, 18, 26). The Gustafson 2021/2022

Agreements include a choice of law provision providing for the application of Delaware

law. (Doc. 62-1, pgs. 34, 40). GeoSnap admits that it is a non-signatory to the liability

agreements but claims that, as a third-party beneficiary, it may enforce the arbitration

provisions contained therein.

   C. Analysis

         Plaintiffs dispute that they contracted to arbitrate claims with GeoSnap. Thus,

before determining whether the arbitration provisions apply to Plaintiffs’ claims or

whether that very question itself is delegated to the arbitrator, the Court must first

determine whether a valid contract exists. GeoSnap contends that an arbitrator, not the

Court, must decide whether such an agreement exists. GeoSnap’s view is mistaken; it

conflates the question of contract formation with the question of contract enforceability.

         As the Seventh Circuit explained recently in K.F.C. v. Snap, Inc., “judges must

decide     that   a    contract     has   been    formed     before    they     may     order

arbitration.” K.F.C. v. Snap Inc., 29 F.4th 835, 837 (7th Cir. 2022); accord Janiga v. Questar

Cap. Corp., 615 F.3d 735, 742 (7th Cir. 2010) (“The court must decide whether a contract

exists before it decides whether to stay an action and order arbitration.”). This is

because, “[e]ven the most sweeping delegation cannot send the contract-formation issue

to the arbitrator, because, until the court rules that a contract exists, there is simply no

agreement to arbitrate.” K.F.C., 29 F.4th at 837 (emphasis added).




                                              6
Case 3:23-cv-01321-DWD         Document 78 Filed 03/20/25          Page 7 of 29     Page ID
                                         #742



       The Court further finds that, whether GeoSnap, a non-signatory to the liability

agreements, can compel arbitration is a question of contract formation, which must be

decided by the Court. See, e.g., CCC Info. Servs. Inc. v. Tractable Inc., 2019 WL 2011092 at

*2 (N.D. Ill. May 7, 2019) (whether a non-signatory defendant could enforce an arbitration

agreement was a question of contract formation that must be decided by the Court

because it pertained to whether an agreement “exist[ed] at all”), aff'd, 36 F.4th 721 (7th

Cir. 2022). Cf. K.F.C. 29 F.4th at 838 (because Illinois law treats contracts entered into by

children as voidable rather than void, argument that it would be against public policy to

enforce arbitration agreement against non-signatory minor concerned the agreement’s

“validity, not its existence,” and was therefore a question for the arbitrator). Thus, in the

instant case, the Court finds that whether GeoSnap, as a non-signatory, can enforce the

subject arbitration agreements is a question of contract formation that must be decided

by the Court.

       Next, the Court must determine what body of law governs whether a contract

exists. To the extent GeoSnap contends the FAA controls, GeoSnap is mistaken; state law

governs the issue of contract formation. See Arthur Andersen v. Carlisle, 556 U.S. 624, 630

(2009) (The FAA does “not alter background principles of state contract law regarding

the scope of agreements”—“including the question of who is bound by them.”). See also

Sosa v. Onfido, Inc., 8 F.4th 631, 637 (7th Cir. 2021) (A “nonparty's right to enforce an

arbitration agreement is governed by state law.”); Janiga v. Questar Cap. Corp., 615 F.3d

735, 742 (7th Cir. 2010) (“[C]ontract formation is governed by state law.”). As to which

State’s substantive law controls, a federal court sitting in diversity applies the choice-of-

                                             7
Case 3:23-cv-01321-DWD                   Document 78 Filed 03/20/25                     Page 8 of 29          Page ID
                                                   #743



law rules of the forum state Wachovia Sec., LLC v. Banco Panamericano, Inc., 674 F.3d 743

(7th Cir. 2012) (internal citations omitted). So, Illinois choice-of-law rules determine what

law governs the contract formation issue.

         But, as is explained more fully below, the Court need not engage in a lengthy

choice-of-law analysis. As previously noted, the Pre-2021 Agreements provide for the

application of the law in the State where the Tough Mudder event was held (in this case,

Illinois), and the Gustafson 2021/2022 Agreements provide for the application of

Delaware law. In a footnote, GeoSnap notes that the Gustafson 2021/2022 Agreements

provide for application of Delaware law. GeoSnap, however, does not discuss the Pre-

2021 Agreements, including whether Pre-2021 Agreements contain a choice-of-law

provision.2

         At first glance, the substantive law of both Delaware and Illinois appear to be in

play. Plaintiff advocates for application of Illinois law and GeoSnap, albeit briefly,

references a Delaware choice-of-law clause in the Gustafson 2021/2022 Agreements. But




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  This is GeoSnap’s second motion to compel arbitration. In its first motion to compel arbitration (Doc. 45), which
was mooted by the filing of Plaintiff’s First Amended Complaint (Doc. 58), GeoSnap argued for the application of
Delaware law. At the time, Adam Moomaw and Regan Moomaw were the only plaintiffs. GeoSnap argued that the
Moomaw’s Pre-2021 Agreements included a choice of law provision requiring the application of Delaware law.
GeoSnap argued that, under Illinois law, as a non-signatory it could not enforce the arbitration provision in the
Moomaw’s Pre-2021 Agreements, but under Delaware law GeoSnap, as a non-signatory, could enforce the arbitration
provision. GeoSnap further argued that, given the choice of law provision in the Pre-2021 Agreements, the Court was
required to apply the law of Delaware. Plaintiffs responded, noting that the Moomaw’s Pre-2021 Agreements did not
contain a choice-of-law clause providing for the application of Delaware law. (Doc. 50). In fact, the Moomaw’s Pre-
2021 Agreements included a provision providing for the application of the law “in the State in which the TM Event is
held.” (Doc. 50, pgs. 8-9). In other words, Illinois law. Thereafter, GeoSnap filed a reply admitting that Plaintiffs were
correct and alleging that the mistake was due to counsel inadvertently reviewing a different version of Tough Mudder’s
liability agreement. (Doc. 51).


                                                            8
Case 3:23-cv-01321-DWD                 Document 78 Filed 03/20/25                   Page 9 of 29         Page ID
                                                 #744



GeoSnap’s briefing does not present any argument addressing the choice of law issue. 3

Further, both GeoSnap and Plaintiffs rely on Illinois law in their briefing. Therefore, to

resolve the contract formation issue, the Court applies Illinois law. See Brunswick Leasing

Corp. v. Wisconsin Cent., Ltd., 136 F.3d 521, 525-26 (7th Cir. 1998) (if neither party argues

that the forum state’s choice of law rules require the application of another state’s

substantive law, then the substantive law of the forum state governs).

        That being said, even if the Court were to conduct a choice-of-law analysis, the

choice-of-law provisions in the liability agreements would not control. Under

Illinois choice-of-law rules, which follow the Restatement (Second) of Conflicts (1977),

courts will enforce a choice-of-law clause contained in the contract – when a valid

contract has been formed. See Kohler v. Leslie Hindman, Inc., 80 F.3d 1181, 1185 (7th Cir.

1996) (“In disputes such as this one that arise from a contract, Illinois law respects the

contract's choice-of-law clause as long as the contract is valid.”) (emphasis added).

        In the instant case, Plaintiffs contend they did not enter into a contract with

GeoSnap. When contract formation is in issue, applying the choice-of-law clause

contained in the disputed contract would assume the answer to the antecedent question

of whether a contract was formed is yes. See e.g., Kaufman v. Am. Express Travel Related

Servs. Co., Inc., No. 07 C 1707, 2008 WL 687224, at *3 (N.D. Ill. Mar. 7, 2008) (“as an



3
 As noted above, in its initial motion to compel, GeoSnap argued for the application of Delaware law, which according
to GeoSnap, allows non-signatories to a contract to compel arbitration under the contract. In the instant motion,
although GeoSnap claims the Gustafson 2021/2022 Agreements include a Delaware choice of law provision, GeoSnap
does not advocate for the application of Delaware law. The Court therefore concludes that GeoSnap has abandoned
this argument, and to the extent that it has not, the argument is waived. See Rock Hemp Corp. v. Dunn, 51 F.4th 693,
704 (7th Cir. 2022) (“[P]erfunctory and undeveloped arguments, as well as arguments that are unsupported by
pertinent authority, are waived.”).

                                                         9
Case 3:23-cv-01321-DWD         Document 78 Filed 03/20/25           Page 10 of 29      Page ID
                                         #745



antecedent matter, the court must determine whether the parties have a valid contract,

and, before it can do that, it must decide which state's law applies to the issue

of contract formation. Only if the court finds a valid contract may it turn to the choice of

law provision in the Agreement....”). See also e.g., Sosa v. Onfido, Inc., No. 1:20 CV 04247,

2021 WL 38141, at *2 (N.D. Ill. Jan. 5, 2021), aff'd, 8 F.4th 631 (7th Cir. 2021) (when contract

formation is in issue, it would be inappropriate to apply a choice-of-law provision

because “the antecedent question of whether that document applies to the parties [has

not been resolved]”). Thus, if the Court were to conduct a choice-of-law analysis, any

choice-of-law provision would yield to the law of Illinois, which has adopted the “most

significant relationship test” for deciding among conflicting laws. See Purcell & Wardrope

Chartered v. Hertz Corp., 175 Ill.App.3d 1069, 125 Ill.Dec. 585, 530 N.E.2d 994, 1001 (Ill.

App. 1988).

       Having resolved the threshold choice-of-law questions, the Court turns to whether

GeoSnap, as a non-signatory to the liability agreements, has standing to require Plaintiffs

to arbitrate. GeoSnap asserts that it has a right to enforce the arbitration provisions

because it is a third-party beneficiary to the Agreements. GeoSnap claims the Agreements

apply broadly to “Released Parties.” The Pre-2021 Agreements (relating to Adam

Moomaw, Regan Moomaw, and Gustafson’s attendance at the 2019 event in Rockford,

Illinois) define “Released Parties” as “Tough-Mudder Incorporated and its directors,

officers, employees, agents, contractors, insurers, spectators, co-participants, equipment

suppliers, and volunteers.” (Doc. 62-1, pgs. 8, 16, 24). The Gustafson 2021/2022

Agreements (relating to Gustafson’s participation in Tough Mudder events in 2021 and

                                              10
Case 3:23-cv-01321-DWD                 Document 78 Filed 03/20/25                     Page 11 of 29          Page ID
                                                 #746



2022 in Rockford, Illinois) define “Released Parties” as “OCR US Holdings, LLC d/b/a

Tough Mudder (“TM”) and its parent Spartan Race, Inc. (“Spartan”) and their respective

affiliates, directors, officers, employees, agents, contractors, insurers, spectators, co-

participants, equipment suppliers, and volunteers.”(Doc. 62-1, pgs. 24, 32). The Pre-2021

Agreements incorporate Released Parties into the term “Tough Mudder,” but the

2021/2022 Gustafson Agreements do not incorporate Released Parties into the term

“Tough Mudder.” Instead, the terms of the Gustafson 2021/2022 Agreements sometimes

include “other Released Parties” and sometimes do not. (Doc. 62-1, pgs. 32-43).

         GeoSnap contends that it is a Released Party because “[e]ssentially, Released

Parties would apply to anyone or any company that had anything to do with the Tough

Mudder event.” (Doc. 62, pg. 10). Additionally, GeoSnap contends the Affiliate

Partnership Agreement it entered with Tough Mudder Incorporated demonstrates that

the companies have a direct affiliate relationship. (Doc. 62-2).

         Plaintiffs contend GeoSnap cannot be a third-party beneficiary because the

arbitration clauses contained in the Pre-2021 and Gustafson 2021/2022 Agreements do

not refer to Released Parties or otherwise suggest that it applies to or benefits Released

Parties. 4     Additionally, Plaintiffs contend that GeoSnap’s third-party beneficiary




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 Plaintiffs also contend that the terms of the Pre-2021 Agreements indicate that all Released Parties have substantial
control over how Tough Mudder events are operated. Plaintiffs contend this conflicts with GeoSnap’s prior declaration
under penalty of perjury declaring that “GeoSnap [does not] ha[ve] any role in…the promotion of [Tough Mudder]
events, the enrollment of participants in those events, or the operation of the events.” (Doc. 26-1, ¶ 10). Accordingly,
Plaintiffs argue, GeoSnap is judicially estopped from claiming it is a released Party. Because the Court finds that
GeoSnap is not entitled to enforce the arbitration provisions in the Agreements, the Court need not address this
argument. However, the Court notes that Released Parties includes groups that clearly do not exercise substantial
control over Tough Mudder or its events, including spectators, co-participants, and volunteers. Thus, the Court
questions the validity of this argument.

                                                          11
Case 3:23-cv-01321-DWD         Document 78 Filed 03/20/25           Page 12 of 29     Page ID
                                         #747



argument fails as to Gustafson because her agreements were executed on October 11,

2018, August 5, 2021, and August 17, 2022, and the Affiliate Partnership Agreement was

not in effect when Gustafson executed her agreements. Further, Plaintiff notes that the

latter two agreements do not mention the entity that GeoSnap contracted with (Tough

Mudder Incorporated); they refer instead to “OCR US HOLDINGS, LLC d/b/a Tough

Mudder…and its parent SPARTAN RACE, INC.”

        “A nonsignatory to a contract typically has no right to invoke an arbitration

provision contained in that contract.” Sosa v. Onfido, Inc., 8 F.4th 631, 639 (7th Cir. 2021)

(applying Illinois law). Generally, under Illinois law, only signatories to an arbitration

agreement can move to compel arbitration. See Bishop v. We Care Hair Dev. Corp., 738

N.E.2d 610, 619 (Ill. App. Ct. 2000). But Illinois law recognizes exceptions to that general

rule,   under   theories   involving third-party beneficiaries,    agency,    and    equitable

estoppel. Id. (citing Ervin v. Nokia, Inc., 714, 812 N.E.2d 534, 539–41 (Ill. App. Ct. 2004)).

Illinois law distinguishes between intended and incidental beneficiaries. Hacker v. Shelter

Insurance Co., 902 N.E.2d 188 (Ill. App. Ct. 2009). An intended beneficiary is intended by

the parties to the contract to directly benefit for the performance of the agreement; under

the contract an intended beneficiary has rights and may sue. Id. An incidental beneficiary

has no rights and may not sue to enforce them. Id. “Illinois courts ... ‘recognize a strong

presumption against conferring contractual benefits on noncontracting third parties.’

” Sosa, 8 F.4th at 639, quoting 117 N.E.3d 1155, 1159 (Ill. App. Ct. 2018). See also Coatney v.

Ancestry.com DNA, LLC, 93 F.4th 1014 (7th Cir. 2024) (describing the basis for third-



                                              12
Case 3:23-cv-01321-DWD         Document 78 Filed 03/20/25          Page 13 of 29     Page ID
                                         #748



party beneficiary arguments as “shaky legal ground”). To overcome that presumption,

as explained by the Seventh Circuit:

       It is not enough to show that the parties know, expect, or even intend that
       others will benefit from the agreement. Instead, for a nonparty to qualify as
       a third-party beneficiary, the language of the contract must show that the
       contract was made for the direct, not merely incidental, benefit of the third
       person. This intention must be shown by an express provision in the
       contract identifying the third-party beneficiary by name or by description
       of a class to which the third party belongs.

Sosa, 8 F.4th at 639 (quotations omitted) (citing Marque Medicos Farnsworth, LLC, 117

N.E.3d 1155 (Ill. App. Ct. 2018); Martis v. Grinnell Mut. Reinsurance Co., 905 N.E.2d 920,

924 (Ill. App. Ct. 2009)). Further, a third-party beneficiary can only enforce an arbitration

agreement when “the signatories to the agreement intended that the nonsignatories were

to derive benefits from the agreement and where the arbitration clause itself is

susceptible to this interpretation…” Dannewitz v. Equicredit Corp. of Am., 775 N.E.2d 189,

192 (Ill. App. Ct. 2002).

       Applying the principles set forth above, the Court looks to the language in the

liability agreements to determine whether GeoSnap was an intended beneficiary. The

Court need not spend long on its analysis. A review of the arbitration clauses in the Pre-

2021 Agreements and the Gustafson 2021/2022 Agreements demonstrates that, even if

GeoSnap is a Released Party, the arbitration clauses in the liability agreements do not

indicate, in any way, an intent to benefit Released Parties. Pursuant to its terms, the

arbitration provisions encompass “disputes, controversies, or claims arising out of my

(and/or my participating minor child/ward’s participation in the TM Events.” (Doc. 62-

1, pgs. 10, 18, 26, 40, 34-35). The arbitration clauses are silent as to nonparties, including

                                             13
Case 3:23-cv-01321-DWD                  Document 78 Filed 03/20/25                     Page 14 of 29           Page ID
                                                  #749



Released Parties, and there is no other language indicating that the arbitration provisions

were intended to directly benefit GeoSnap or “Released Parties.” Because the clauses

themselves cannot be interpreted as conferring a direct benefit on GeoSnap, Released

Parties, 5 or any other nonparty, GeoSnap cannot compel Plaintiffs to arbitrate. Coatney,

93 F.4th at 1024 (quoting Johnson v. Noble, 608 N.E.2d 537, 541 (Ill. App. Ct. 1992). See also

Washington v. Persona Identities, Inc., 2024 IL App (3d) 240210, ¶ 28, appeal denied, 246

N.E.3d 1196 (Ill. 2024) (“Unless a nonparty is expressly named or its class described, a

generic arbitration clause—no matter how broad—cannot show an intent to directly

benefit the nonparty.”).

         Accordingly, GeoSnap’s Motion to Compel Arbitration will be DENIED. 6

                             III.      DISCUSSION - MOTION TO DISMISS

    A. Legal Standard

         A defendant is entitled to dismissal only where “it appears beyond doubt that the

plaintiff can prove no set of facts in support of his or her claim on which relief may be

granted.” Hickey v. O'Bannon, 287 F.3d 656, 657 (7th Cir.2002) (affirming dismissal),

citing Szumny v. American General Finance, Inc., 246 F.3d 1065, 1067 (7th Cir.2001);



5
  Notably, pursuant to the liability agreements, “Released Parties” includes, among others, spectators and co-
participants. Thus, to construe the arbitration clause as applicable to all “Released Parties” would lead to the untenable
conclusion that even spectators or other participants could enforce the arbitration provision.
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  Plaintiffs contend GeoSnap’s third-party beneficiary argument “has yet another shortcoming specific to Plaintiff
Sarah Gustafson.” (Doc. 65, pgs. 11-12). Specifically, GeoSnap claims that, given its affiliate Partnership Agreement
with Tough Mudder Incorporated, it is a “Released Party” under all of the liability agreements. The Affiliate
Partnership Agreement, however, was not in effect when Gustafson executed her liability agreements with Tough
Mudder. Additionally, the Gustafson 2021/2022 Agreements do not reference the entity that GeoSnap contracted with
(Tough Mudder Incorporated). Instead, they refer to OCR US HOLDINGS, LLC d/b/a/ Tough Mudder…and its parent
SPARTAN RACE, Inc.” These facts provide an additional independent basis for finding that GeoSnap cannot compel
Gustafson to arbitrate.

                                                           14
Case 3:23-cv-01321-DWD               Document 78 Filed 03/20/25                  Page 15 of 29         Page ID
                                               #750



accord, Chaney v. Suburban Bus Div. of Regional Transp. Auth., 52 F.3d 623, 626-27 (7th Cir.

1995). For purposes of deciding the motion, the court must treat the plaintiffs’ allegations

as true and draw all inferences in their favor, although it need not give weight to

unsupported conclusions of law. O'Bannon, 287 F.3d at 657-58; McLeod v. Arrow Marine

Transp., Inc., 258 F.3d 608, 614 (7th Cir.2001); Scott v. O'Grady, 975 F.2d 366, 368 (7th

Cir.1992).

        When ruling on a 12(b)(6) motion, a court may consider documents outside of the

plaintiff's complaint if they are referred to in the complaint and central to the claim.

Wright v. Associated Ins. Companies Inc., 29 F.3d. 1244, 1248 (7th Cir. 1994). In the instant

case, GeoSnap’s contract with Tough Mudder, GeoSnap’s Terms & Conditions, and

GeoSnap’s Privacy Policy, which GeoSnap has submitted in support of hits 12(b)(6)

motion, are all referenced in the Complaint, and may be considered at this stage without

converting GeoSnap’s motion to a motion for summary judgment. Brownmark Films, LLC

v. Comedy Partners, 682 F.3d 687, 690 (7th Cir. 2012). 7

    B. Section 15(b) Claims

        Under BIPA, Section 15(b) imposes three specific requirements on private entities

that “collect, capture, purchase, receive through trade, or otherwise obtain a person's or

a customer's biometric identifier or biometric information.” 740 ILCS § 14/15(b).

Specifically, a private entity may not collect such material unless it:




7
  However, as is discussed more fully herein, other extrinsic materials relied on by GeoSnap are not alleged in or
integral to the complaint. As such, these materials will not be considered by the Court, and the Court declines to
convert the dismissal motion to a motion for summary judgment.

                                                       15
Case 3:23-cv-01321-DWD        Document 78 Filed 03/20/25         Page 16 of 29     Page ID
                                        #751



       (1) informs the subject or the subject's legally authorized representative in
           writing that a biometric identifier or biometric information is being
           collected or stored;

       (2) informs the subject or the subject's legally authorized representative in
           writing of the specific purpose and length of term for which a biometric
           identifier or biometric information is being collected, stored, and used;
           and

       (3) receives a written release executed by the subject of the biometric
       identifier or biometric information or the subject's legally authorized
       representative.

740 ILCS § 14/15(b).

       Counts II -IV of the First Amended Complaint (Doc. 58) allege that GeoSnap

violated § 15(b) in its entirety and that each violation of the three requirements is

separately compensable. GeoSnap, citing to Cothron v. White Castle Sys., Inc., 216 N.E.3d

918 (Ill. 2023), as modified on denial of reh'g (July 18, 2023), contends Plaintiffs cannot

recover statutory damages for its alleged violations of subsections 15(b)(1), 15(b)(2), and

15(b)(3). Instead, GeoSnap argues, any violation of Section 15(b)’s requirements creates

one violation – not three. Accordingly, GeoSnap claims, Counts II-IV should be dismissed

and Plaintiffs should have to plead those claims as a single cause of action.

       In Cothron, the Illinois Supreme Court addressed a related but distinct issue:

whether each unauthorized scan or transmission of biometric data under Sections 15(b)

and 15(d) constitutes a separate violation. The Court held that “a separate claim accrues

under the Act each time a private entity scans or transmits an individual's biometric

identifier or information in violation of section 15(b) or 15(d)” of the Act Cothron, 216

N.E.3d at 920. The Illinois Supreme Court also acknowledged that its decision opened the


                                            16
Case 3:23-cv-01321-DWD                   Document 78 Filed 03/20/25                     Page 17 of 29            Page ID
                                                   #752



door to “potentially excessive damage awards” under BIPA but concluded those policy-

based concerns were best addressed by the legislature. Id. at 929.

         Cothron focused on repeated collections of biometric data rather than the separate

requirements within Section 15(b). Nonetheless, its reasoning suggests a broader

principle: BIPA violations are connected to distinct acts or failures that contravene the

statute’s mandates. The majority emphasized the plain language of Section 15(b), which

prohibits collection “unless” the entity “first” complies with the three requirements. Id.

at 925-26. The Court relied, in part, on its prior decision in Rosenbach v. Six Flags Entm’t

Corp., 129 N.E.3d 1197, 1206 (Ill. 2019). Specifically, the Court stated: “[W]e determined

in Rosenbach that a person is ‘aggrieved’ or injured under the Act ‘when a private entity

fails to comply with one of section 15's requirements.’ ” Id. at 927. The Court went to

explain that “Rosenbach does not stand for the proposition that the ‘injury’ for a § 15 claim

is predicated on, or otherwise limited to, an initial loss of control or privacy. Instead,

Rosenbach clearly recognizes the statutory violation itself is the ’injury’ for purposes of a

claim under the Act.” Id. at 928. Although the Illinois court’s analysis was in the context

of establishing an injury for standing (Rosenbach) and accrual of claims (Cothron), it

suggests that each requirement carries independent weight, supporting a finding that

Section 15(b)’s subparts are separately compensable. 8



8
 In response to Cothron, the Illinois legislature amended BIPA via Senate Bill 2979. The amendment modified Section
15(b) to state that a private entity that “in more than one instance, collects, captures, purchases, receives through trade,
or otherwise obtains the same biometric identifier or biometric information from the same person using the same
method of collection” commits “a single violation” for which the aggrieved person is entitled to “at most, one
recovery.” Critically, the amendment focuses on repeated collections of the same biometric date; not on the separate
requirements within Section 15(b). Thus, the amendment does not alter this Court’s analysis.


                                                            17
Case 3:23-cv-01321-DWD                 Document 78 Filed 03/20/25                   Page 18 of 29          Page ID
                                                 #753



         Also relevant is the conjunctive phrasing in Section 15(b). As argued by Plaintiffs,

the use of “and” between the three requirements in Section 15(b) indicates that

compliance requires satisfying all three subparts, and thus a failure of any one constitutes

a violation. Combining this with the rule set forth in Rosenbach – that BIPA is violated

when an entity fails to comply with one of section 15’s requirements – suggests that each

of the three requirements in Section 15(b) is separately compensable as a distinct

violation.

         Finally, the Court notes that in Halim v. Charlotte Tilbury Beauty Inc., No. 23 CV 94,

2023 WL 3388898 (N.D. Ill. May 11, 2023) and Burlinski v. Top Golf USA Inc., No. 19-CV-

06700, 2020 WL 5253150 (N.D. Ill. Sept. 3, 2020), the Northern District of Illinois allowed

violations of each Section 15(b) subpart – lack of notice, disclosure as to purpose, and

written consent, to be included as separate violations in the amount-in-controversy

calculation when assessing CAFA jurisdiction. Although certainly not definitive, these

decisions weigh against GeoSnap’s position.

         Ultimately, considering the plain language of Section 15(b), the Illinois Supreme

Court’s decisions in Cothron and Rosenbach, and the lack of binding authority rejecting

Plaintiffs’ distinct violations theory, along with the Northern District of Illinois treating

15(b)’s subparts as distinct for purposes of calculating the amount-in-controversy,

GeoSnap cannot definitively establish that Plaintiffs’ claims fail as a matter of law.9

Therefore, the Motion to Dismiss Plaintiffs’ Section 15(b) claims will be DENIED.



9
 To the extent that the Court’s ruling implicates policy concerns about excessive awards, as noted in Cothron, that is
an issue that must be addressed by the Illinois legislature.

                                                         18
Case 3:23-cv-01321-DWD        Document 78 Filed 03/20/25         Page 19 of 29     Page ID
                                        #754



   C. Section 15(c)

       Section 15(c) of BIPA states: "No private entity in possession of a biometric

identifier or biometric information may sell, lease, trade, or otherwise profit from a

person’s or a customer’s biometric identifier or biometric information." GeoSnap

contends Plaintiffs do not sufficiently plead a cause of action under Section 15(c) because

the First Amended Complaint does not allege that GeoSnap was involved in any for-

profit transactions or otherwise profited from their biometric data and, thus, has not

sufficiently alleged any violation of Section 15(c) of BIPA. According to GeoSnap, the

phrase “otherwise profit from” should “carry a meaning that merely reinforces the

prohibition on selling access to biometric data to third-parties for profit.” (Doc. 62, pg.

17).

       Plaintiffs argue that, considering the following allegations, they have sufficiently

pled a cause of action under Section 15(c):

          x   “[GeoSnap’s] business model is dependent on its collection and use
              of the biometrics of the people depicted in the photos uploaded to its
              website.”(Doc. 58, ¶ 5).
          x   GeoSnap “scans all photographs that [are] upload[ed] to its website
              and extracts data representing the unique geometry of each facial
              image in each photograph,” which are biometrics. (Doc. 58, ¶¶ 30-
              31.
          x   A person who wants to find an image of themselves among the
              photos in GeoSnap’s database can then upload a “selfie,” which is
              likewise scanned so that facial geometry is extracted and compared
              against the facial biometrics already in the database. (Doc. 58, ¶ 32).
          x   The purpose of all this, from GeoSnap’s perspective, is to “facilitate[
              ] the sale of photographs through the GeoSnapShot website, and in
              turn generate[ ] GeoSnapShot’s primary source of revenue.” (Doc.
              58, ¶¶ 44, 50).
          x   GeoSnap has represented that its partnership with Tough Mudder
              would help it realize “500% growth” in 2019 alone, and that its use

                                              19
Case 3:23-cv-01321-DWD          Document 78 Filed 03/20/25        Page 20 of 29     Page ID
                                          #755



              of facial recognition is essential to locating photos of Tough Mudder
              participants. (Doc. 58, ¶¶ 37, 38).

       Section 15(c) broadly prohibits profiting from biometric data beyond direct

sales, as evidenced by the phrase “otherwise profit from.” Plaintiff alleges

biometric data is a necessary element to GeoSnap’s services, allowing it to generate

revenue through the sale of photographs on its website, and that its transactions

with Tough Mudder participants allowed GeoSnap to increase its customer base

and realize 500% growth. This plausibly constitutes “otherwise profiting” under a

plain reading of the statute.

       GeoSnap contends that because “Plaintiffs do not allege that GeoSnap is

selling access to biometrics or commercially disseminating that data to third-

parties for a fee[,]” their § 15(c) claim must be dismissed. In support of its

argument, GeoSnap relies, in part, on Karling v. Samsara Inc., 610 F. Supp. 3d 1094

(N.D. Ill. 2022) and Flores v. Motorola Sols., Inc., No. 1:20-CV-01128, 2021 WL

232627, at *3 (N.D. Ill. Jan. 8, 2021). But GeoSnap misreads these cases – they

undermine, rather than bolster, GeoSnap’s position. In Karling, the defendant used

its dashcams to collect biometric data, stored that biometric data on its cloud-based

dashboard, and then sold access to the dashboard to third-parties. The defendant

sought dismissal of the § 15(c) claim, arguing that BIPA applies to the sale of

biometric data, not to the sale of biometric technology. The Court rejected this

argument, finding that, by using biometric data to enhance its revenue generating

database, the defendant otherwise profited from that biometric data. Similarly,


                                            20
Case 3:23-cv-01321-DWD        Document 78 Filed 03/20/25          Page 21 of 29     Page ID
                                        #756



Flores upheld a Section 15(c) claim where biometric data was a “necessary

element” of the defendant’s profitable business model, despite the fact that

defendant was not directly selling biometric data to third parties. Flores, 2021 WL

232627, at *3. In the instant case, GeoSnap does not sell access to the biometric

database itself. Instead, it profits from the sale of photographs, but the collection

and storage of biometric data is a necessary component of its business model.

Thus, like the defendants in Flores and Karling, even though GeoSnap is not

directly selling biometric data to a third party, it is profiting from the collection

and/or storage of biometric data.

       GeoSnap also relies on Vance v. Microsoft Corp., 534 F. Supp. 3d 1301 (W.D.

Wash. 2021), a non-binding Western District of Washington decision. In Vance, the

court found the plaintiffs did not allege that Microsoft directly sold biometric data,

nor did they allege that the biometric data is itself was so incorporated into

Microsoft's product that by marketing the product, it was commercially

disseminating the biometric data. 534 F. Supp. 3d 1301, 1309 (W.D. Wash. 2021).

Thus, the court dismissed the plaintiffs’ section 15(c) claim. Id. Here, unlike the

allegations at issue in Vance, Plaintiffs have alleged that the collection and storage

of biometric data itself is incorporated in and a necessary component of GeoSnap’s

revenue generating business model.

       GeoSnap also contends dismissal is warranted because Plaintiffs do not

allege using the Website’s optional selfie feature. This argument misses the mark.

Section 15(c) liability hinges on Defendant’s conduct – profiting from biometric

                                             21
Case 3:23-cv-01321-DWD                  Document 78 Filed 03/20/25                     Page 22 of 29           Page ID
                                                  #757



data in its possession. See Thornley v. Clearview AI, Inc., 984 F.3d 1241, 1247 (7th

Cir. 2021) (focusing on entity’s conduct). As Plaintiffs note, the selfie feature is

available only because GeoSnap has a database of potential matches created by

extracting biometrics from all photos uploaded to its platform. In other words,

biometrics are inextricably intertwined with GeoSnap’s revenue generating

business model and that is sufficient to state a claim under § 15(c).

     D. GeoSnap’s Terms & Conditions and Privacy Policy

         GeoSnap contends that Adam Moomaw created an account on May 22, 2019

following his participation in a Tough Mudder event in Missouri. (Doc. 62, pg. 18;

Doc. 62-2, pgs. 3, 18-19), and that Sarah Gustafson created an account on August

30, 2019, following her participation in the Tough Mudder Chicago event in

Rockford, Illinois. (Doc. 62-2, pgs. 3, 22-23). In support of this claim, GeoSnap has

provided the Court with a declaration from GeoSnap’s founder and CEO, as well

as screenshots that purportedly demonstrate Adam Moomaw and Sarah

Gustafson created accounts on the Website in 2019. (Doc. 62-2).

         GeoSnap further contends that, to create an account on GeoSnap’s Website,

a user must first check a box labeled “I Agree,” indicating that the user agrees to

GeoSnap’s Terms & Conditions (“Terms”) and Privacy Policy (“Policy”). 10 (Doc.

62-2). The “I Agree” box is to the left of hyperlinks titled “Terms and Conditions”




10
  GeoSnap attaches copies of the Terms and Policy to the declaration provided by GeoSnap’s founder and CEO.
According to the declarant, these are copies of the Terms and Policy as they existed in 2019. The Court notes, however,
that the attached Policy includes an effective date of March 5, 2021. (Doc. 62-4, pg. 2). Thus, it appears that the Policy
provided by GeoSnap was not in effect when Adam Moomaw and Sarah Gustafson purportedly created their accounts.

                                                           22
Case 3:23-cv-01321-DWD                 Document 78 Filed 03/20/25                     Page 23 of 29          Page ID
                                                 #758



and “Privacy Policy.” As evidence of this, GeoSnap cites to the declaration from

its founder and CEO, describing how users create an account (Doc. 62-2), 11 as well

as the following screenshot, purportedly depicting the screen a user sees when

creating an account (Doc. 62-2, pg. 16): 12




(Doc. 62-2, pg. 16).




11
  The declaration describes how “users” create an account on the Website, but it does not specify whether the process
being described was in effect in 2019.
12
  GeoSnap does not state whether this screenshot was taken from the Website as it currently exists or if this screenshot
depicts the account creation page as it existed in 2019.

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Case 3:23-cv-01321-DWD              Document 78 Filed 03/20/25                Page 24 of 29         Page ID
                                              #759



        Citing to this extrinsic evidence, GeoSnap argues that, to register for an

account, a user must check the “I Agree” box acknowledging acceptance of the

Terms and Policy. GeoSnap further maintains that, because Adam Moomaw and

Sarah Gustafson created accounts in 2019, they must have assented to the Terms

and Policy. The Terms is a 12-page document that includes a release clause on page

11. Accordingly, GeoSnap argues, Adam Moomaw and Sarah Gustafson 13 released

all liability for any claim whatsoever against GeoSnap related to the use of the

Website. (Doc. 62, pgs. 17-18). GeoSnap further contends that the Policy was BIPA

compliant and, as a result, Adam Moomaw and Sarah Gustafson’s § 15(a) and

15(b) claims fail as a matter of law. (Doc. 62, pg. 20).14

        Plaintiffs contend GeoSnap has not established that either plaintiff had

notice of or assented to the Terms or Policy when they allegedly created accounts.

(Doc. 65, pgs. 18-19). Additionally, Plaintiffs argue that, even assuming notice and

consent, dismissal is improper because: (1) the claims do not fall within the plain

language of the release; (2) the release cannot be construed to include claims not

within the contemplation of the parties; (3) the record does not reflect that the

purported BIPA compliant terms contained in the policy were in effect in 2019,

when Adam Moomaw and Sarah Gustafson purportedly created their accounts;




13
   Sarah Gustafson created her account prior to her participation in the Tough Mudder events in 2021 and 2022.
Accordingly, as to Gustafson, the release clause, if binding, would only foreclose her post-2019 BIPA claims.
14
  As previously noted, GeoSnap has not produced a Policy that was in effect when Adam Moomaw and Sarah
Gustafson allegedly created their accounts.

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Case 3:23-cv-01321-DWD         Document 78 Filed 03/20/25           Page 25 of 29    Page ID
                                         #760



and (4) the purported BIPA compliant terms contained in the Policy are illusory.

(Doc. 65, pgs. 19-22).

       Although contracts formed by creating an account on a website are a

“newer form[ ] of contracting,” the same common law contract principles apply:

       In Illinois, as in many states, the law governing the formation
       of contracts on the Internet is still in the early stages of development. But
       there is no reason to think that Illinois’s general contract principles do not
       apply. Formation of a contract requires mutual assent in virtually all
       jurisdictions; Illinois courts use an objective approach to that question.

Sgouros v. TransUnion Corp., 817 F.3d 1029, 1034 (7th Cir. 2016).

       “Generally, a party who signs a written contract is presumed to have notice

of all the contract’s terms.” Id. But, because many internet users fail to realize they

are agreeing to a contract, applying this principle in the context of internet

transactions can be challenging. Id. In determining whether an agreement has been

formed over the Internet, the Seventh Circuit has explained that “we might ask

whether the web pages presented to the consumer adequately communicate all

the terms and conditions of the agreement, and whether the circumstances support

the assumption that the [consumer] receives reasonable notice of those

terms.” Id. As the Appellate Court further explained, this analysis involves “a fact-

intensive inquiry: we cannot presume that a person who clicks on a box that

appears on a computer screen has notice of all contents not only of that page but

of other content that requires further action (scrolling, following a link,

etc.).” Id. at 1034–35.



                                             25
Case 3:23-cv-01321-DWD         Document 78 Filed 03/20/25          Page 26 of 29     Page ID
                                         #761



       That being said, courts often find that an online contract has been formed

when a customer clicks on an “I Accept” button as part of a “clickwrap”

agreement. Domer v. Menard, Inc., 116 F.4th 686, 694 (7th Cir. 2024) (“Courts around

the country have recognized that this type of electronic ‘click’ can suffice to signify

the acceptance of a contract.”) citing Sgouros, 817 F.3d at 1033. “There is nothing

automatically offensive about such agreements, as long as the layout and language

of the site give the user reasonable notice that a click will manifest assent to an

agreement.” Sgouros, 817 F.3d at 1033-34.

       GeoSnap contends the Website gave Adam Moomaw and Sarah Gustafson

reasonable notice that by clicking the “I Agree” box, they were agreeing to the

Terms, including the release clause found on page 11, and the Policy that GeoSnap

alleges complies with BIPA. The problem for GeoSnap is that, on a motion to

dismiss, the Court can only consider extrinsic materials if they are referenced in or

central to the First Amended Complaint. See Hecker v. Deere & Co., 556 F.3d 575,

582–83 (7th Cir. 2009). In the instant case, this includes GeoSnap’s contract with

Tough Mudder, GeoSnap’s Terms of Service, and GeoSnap’s Privacy Policy, all of

which are referenced in the Amended Complaint. This, however, does not include

the declaration provided by GeoSnap’s founder and CEO, the screenshots

purportedly showing that Adam Moomaw and Sarah Gustafson created accounts,

or the screenshot that purports to depict the Website’s account creation page. See

e.g., Nicosia v. Amazon.com, Inc., 834 F.3d 220, 234 (2nd Cir. 2016) (in deciding

motion to dismiss, it was error for the district court to rely on extrinsic materials

                                             26
Case 3:23-cv-01321-DWD                Document 78 Filed 03/20/25                   Page 27 of 29         Page ID
                                                #762



indicating that the plaintiff’s “purchases were made using an account created in

2009 and that to have registered for an account in 2008 one must have checked a

box on the Registration Page, acknowledging acceptance of the 2008 Conditions of

Use…[because] those facts were neither alleged in nor integral to the complaint.”).

        GeoSnap relies on these extrinsic materials to show that Adam Moomaw

and Sarah Gustfason created accounts in 2019, and that to have created an account

in 2019, they must have checked the “I Agree” box, which was positioned next to

hyperlinks labeled “Terms of Service” and “Privacy Policy.” GeoSnap invites the

Court to consider this material and find that Adam Moomaw and Sarah Gustfason

personally created accounts in 2019 and personally assented to the Terms and

Policy. But to do so without converting the dismissal motion to a motion for

summary judgment would be error.

        Recognizing this issue, in a footnote, GeoSnap contends that to the extent

that these materials are deemed to be outside the Complaint, the Court should

convert its motion to one for summary judgment. The Court declines to do so.

First, GeoSnap has not provided the Court with sufficient evidentiary material to

render a summary judgment decision. As previously noted, GeoSnap has not

established that the account creation process described in the declaration or that

the account creation screenshot attached to the declaration reflect the account

creation process in effect in 2019 or the account creation page as it existed in 2019.15


15
  The declaration expressly states that GeoSnap is attaching “[t]rue and accurate versions of the Terms & Conditions
and Privacy Policy that existed in 2019.” (Doc. 62-2 ¶ 8). The declaration, however, does not provide the same


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Case 3:23-cv-01321-DWD                 Document 78 Filed 03/20/25                    Page 28 of 29          Page ID
                                                 #763



Thus, even if considered, the extrinsic materials would not conclusively resolve

the factual dispute as to notice and assent.

         Second, at the parties’ request, merits discovery was stayed pending

resolution of the instant motion. (Docs. 37 and 43). Because Plaintiffs have not had

the opportunity to fully engage in discovery to provide support for their

allegations, it would be premature to convert GeoSnap’s dismissal motion to a

motion for summary judgment. Accordingly, the Court declines to exercise its

discretion to convert GeoSnap’s dismissal motion to a motion for summary

judgment. See Levenstein v. Salafsky, 164 F.3d 345, 347 (7th Cir. 1998) (where

discovery was ongoing, district court’s decision to treat pleading as a motion to

dismiss, rather than converting it to a summary judgment motion, was within

district court’s discretion).

                                             IV. CONCLUSION

         For the reasons set forth herein, Defendant GeoSnap PTY LTD’s Motion to Compel

Arbitration or, Alternatively Under Federal Rule of Civil Procedure 12(b)(6) to Dismiss

Plaintiffs’ Amended Complaint (Doc. 62) is DENIED.

         The Court FURTHER ORDERS that the previously imposed stay on discovery is

lifted. By separate Order, the Court will set a new trial date and will direct the Parties to




assurances as to the declarant’s description of the account creation process or the screenshot purportedly representing
the account creation process. Additionally, as previously noted, GeoSnap claims it has attached the Privacy Policy in
effect in 2019, but the attached policy’s effective date is March 5, 2021. Considering these issues, whether Adam
Moomaw and Sarah Gustafson consented to the Terms or Policy is more appropriately addressed with a fully
developed record at the summary judgment stage.

                                                         28
Case 3:23-cv-01321-DWD        Document 78 Filed 03/20/25    Page 29 of 29    Page ID
                                        #764



submit a proposed Scheduling Order.

      SO ORDERED.

      Dated: March 20, 2024

                                                   DAVID W. DUGAN
                                                   United States District Judge




                                         29
